            Case 8:04-cr-00374-JSM-AEP Document 230 Filed 11/01/06 Page 1 of 6 PageID 463

I   A 0 245B (Rev 06105) Sheet 1 -Judgment in a Criminal Case


                                UNITED STA TES DISTRICT COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          TAMPA DMSION




I   UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                  CASE NUMBER: 8:04-cr-374-T-30TBM
                                                                  USM NUMBER: 48444-018




                                                                  Defendant's Attorney: Jeffrey Brown, cja.

I   THE DEFENDANT:




1
    X pleaded guilty to count(s) ONE of the Indictment.
    -pleaded nolo contendere to count(s) which was acccptcd by the court
       was found guilty on count(s) after a plea of not guilty.



I   TITLE & SECTION

    21 U.S.C. $5963 and
                                       NATURE OF OFFENSE

                                       Conspiracy to Import into the United
                                                                                   OFFENSE ENDED

                                                                                   September 9. 2004                   One
    960(b)(l)(B)(li)                   States F ~ v eKilograms or More of
                                       Cocaine                                                                                         I
            The defendant 1s sentenced as provided in pages 2 through 6 of this judgment. The sentence 1s imposed pursuant to h e
    Sentencing Reform Act of 1984.

    - The defendant has been found not guilty on count(s)
    X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States.
    -
    IT IS FURTHER ORDERED h a t the defendant must notify the United States Attorney for this district within 30 days of any change
    of name, residence, or mailing address until all fmes, resti~tion,costs, and special assessments imposed by this judgment are hlly
    paid.
    If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
    circumstances.

                                                                                                                                       I
                                                                                    Date of Imposition of Sentence: October 31, 2006




                                                                                    DATE: October     3 ( ,2006
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.A0 24SB (Rev 06/05) Shcet 2 - l~nprisonn~en~
                                          (Judgment in a Criminal Case)
Defendant:          CARhIELO JESUS PRETEL-HERAZO                                                             Judgment - Pagc 2 of 5
Case No. :          8:04-cr-374-T-30rTBhl




          After considering tlic advisory sente~lciugguitlelines ant1 all of the factors itlentif'iod in Titlc 19 U.S.C. 8s
3553(a)(l)-(7),the court finds that the sentence inlposctl is sufficient, but not greatcr tllan ncccssary, to co~nplgwith tlic
st at utory purposes of' seatc~lcing.


         The defendant is hereby committed to the custody of the United States Bureau of PI-isons to be imprisoned for ;I
total teim of Oh33 IIUNDRED and TI-IIRTY-FIVE (135) MONTIIS as to Count One of tlic Inclictment.



 X The court makes the following reco~llmendationsto the Bureau of Prisons: The defendant shall be placed at FCI Colcnlan
(FL), if possible.

     The defendam is remanded to the custody of the United States klarshal.
- The defendant shall surrender to the United States hhrshal for this district.




- The defendant shall surrender for service of sentence at the institution designated by [he Bureau 01' Prisons.
           - before 2 p.m. on -.
           - as notified by the United States klarshal.
           - as notitled by the Prohation or Pretrial Services Oftice.



                                                                     RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                 to

-     at                                                                          , with ri ccr-tified copy of this judgment.



                                                                                          United States hlarshal

                                                                         By:
                                                                                          Deputy United States h4ar-shal
          Case 8:04-cr-00374-JSM-AEP Document 230 Filed 11/01/06 Page 3 of 6 PageID 465
A 0 245B (Rev. 06/05) Sliest 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            CARMELO JESUS PRETEL-HERAZO                                                                     Judg~ntrix- Page 3 of 6
                                                                                                                                            --
Case No. :            894-cr-374-T-30TBM
                                                             SUPERVISED RELEASE

        Upon release from i m p - i s o n m c n t , the defendant shall be on supervised rclcasc for a term of THREE (3) I'EARS 3s
to Count One of the Indict~nent.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not comnlit another federal. state, or local crime. The defe~ldantsliall not unlawfully possess a controlled
substance. The defendant shall rcli-ain from any unlawful use of a controlled substance. The defendant shall subnlit lo one drug test
within 15 days of release from in~prisonmcntand at least ~ w periodic
                                                              o        drug tests the~xxl'tes,as determined by the courl.

         Tlie defendant shall cooperate in thc collection of DNA as directed by h e prob:ition officer.

           If this judgment inlposcs a fine or restitution it is a condition of supervised release that the dckndant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                               STAXDARD COKDITIONS OF SUPERVISION
           the defendant shall not lealee the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complctc written report within the first five days of each
           month;

           the defendant sliall answcr truthfully all inq~liriesby die probation officcr and follow tlic instructions of the probation officer;

           the defendanr shr~lls~lpporthis or her dcpendents and mcct other family I-esponsibililius;

           the defendant shall work I-egularlyat a lawful occi~pation,unless excuscd by the p r o l ~ ~ l i oofficer
                                                                                                              n      for scliooling, training, or other
           acceptable rcasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residcncc or cmploy~iicnt;

             the defendant shall re frain from excessive use of alcohol and shall not purchase, posscss. usc, cl istri bit re, or administer any control lcd
             substance or any pal-npliernalia related to any controllcd substances, except as prcscribcd by a physician;

             the defendant shall not fi.ecluent places where controlled substances are illegally sold, used, distributed, 01. administered:

             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of a
             felony, unless granted peniiission to do so by the probation officer:

             the defendant shall permit a probation officer to visit him or her at any time at home or c l s e \ i h m and sliall permit confiscation of any
             contraband observed in plain view of the probation officer;

             the defendant shall notify the probation officcr within sevcniy-two hours of being a ~ w s k d01-qucstionod by a law cnforccnient officer;

             the defendant shall not enter into any agreement to act as an informer or a spccial agcnl o f a lu\v cnforccmcnt agcncy withour the
             permission of the court; and

             as directed by the probation officcr. the defendant shall notify third parties of risks that may bc occasioned by the dcfcndant's criminal record
             or personal history or characteristics and shall per~iiitthe probation officer lo makc such notifications and to confirni the defendant's
             conipliance u:ith such notification requirement.
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A 0 245R (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

DL'fendant :       CXRhl E L 0 J LSUS PREI'EL-HERAZO                                                     Judgment - Page   of
Case No. :         S:W-cr-374-T-30TBkl
                                         SPECIAL COAWITIONSOF SUPERVISION

          The defendant shall also comply with the following additional conditions of supel*vist.d release:

X
-         Should the defendant be deported, he/she shall not be allowed to re-enter thc United States without ths express permission
          of the appropriate governmental authority.
X
-         The defendant shall cooperate in the collection of DNA as directed by the probation ot'l'lcur.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crimc Control Act. The Court authorizes rai~cloln
          drug testing not to excced 104 tests per year.
        Case 8:04-cr-00374-JSM-AEP Document 230 Filed 11/01/06 Page 5 of 6 PageID 467
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Casej
Defendant:          CARMELO JESUS PRETEL-HERAZO                                                         Judginent - Page 5 of 6
Case No.:           8 :04-cr-374-T-30TBM

                                          CRIMINAL IUOhXTARY PENALTIES

         The defendant must paj7 the total criminal nlonetary penalties under the schedule of paymencs on Sllcut 6.
                             Asscssmcnt                          Fine                         Total Restitution

         Tot 31s:            S100.00                             Waivec1                      N/ A


-        The determination of restitution is deferred until         .      An A ~ u e ~ l d eJ~lrigurerlt
                                                                                              d          ill o Crinlillnl Cnse ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including co~nrnunityrestitution) LO the following payees in [hc amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynlent, unless
         specified othelwise in the prioricy order or pcrcelilage pa menr c o l u m ~below.
                                                                                      ~     Ho\vcver, pursuant to 18 U.S.C.
         %6?(i 1, all not]-fcdcral victims must be paid hefore the dnited Statcs.


Name of Payee                                 Total Loss*                  Restitution Ordered                   Priority or Percexlta~e




                             Totals:          $                            L-
         Restitution amount ordered pursuant to plea agreement S
         The clefendm must pay interest on a fine or rcslitulion of more than S3.500, unless the restitution or I'ini: is p:tid in full
         before thc l'ii'teenth day after the date of the judgment, pursuant to 18 U.S .C. $ 36 12(f). All of the pay~nenroptions 011Sheer
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 36 l?(g).
         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -           the interest requirement is waived for the - fine      - restitution.

        -           the inrerest rccluirenlent i'os the - l'inc - restitu~ionis modified as follows:


* Findings for the total anlount of losses are required under Cha ters 109A, 110, 1 IOA. and 113.4 of Titk 18 Sol- the ol'ti.nscs
committed on or after Sepre~nber13, 1994, bur before April 23, 1896.
          Case 8:04-cr-00374-JSM-AEP Document 230 Filed 11/01/06 Page 6 of 6 PageID 468
A 0 23513 (liev O6iOS) Sheet 6 - Schedule of I'aynents (Judgment in a Criminal Case)

Defendant:         CARMELO JESUS PRETEL-IIERAZO
Case No. :         8:04-cr-374-T-30TBM


                                                    SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criininal monetary penallies are due as follows:

A.        X        Lump sum payment of $ 100.00 due immediately. balance due
                             - not later rlun                     , or

                             - in accordance - C, - D, - E or                          F below: or
B.       -         Payment to begin iinmediately (may be combined with -C , -D. or -F below): or
C.       -         Payment in equal                 (e.g.. weekly, monthly, quarterly) installments of $               over a
                   period of          (e.g., months or years). to commence              days ( e . ~ . 30
                                                                                                       . or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                (e.g.. weekly. monthly. quarterly) installments of S              over a
                   period of
                                . (e.g., mont1-1~
                                                or years) to commence                     (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                          (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the pay~nentplan based on an assessment of
          the defendant s ahilily to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered orherwise, if this judgment imposes imprisonmenr, payment of criminal monetary
~enaltiesis due during ~mprisonment. All criminal monetary penalties. except those payments made rhrough the Federal
bureau of Prisons' Inmatc Fimncial Responsibility Program. are made to rhe clerk of the court.
The defendant shall receive credit for all payments previously made toward m y criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Toral Amount9Joint and
Several Amount, and corresponding payee, if appropriate:


-         The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
-         The defendant shall forfeit the defendant's interest in the following properly to the United States:
        The Court orders thal the defendant forfeit to the United States im~nediatelyand volu~ltarilvany and all assets and
property. or portions thereor, subject to forfeiture. which are in the possession or control of the defendant or the
del'endant's no~ninees.
Payments shall bs applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
